                  IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE NORTHERN DISTRICT OF ALABAMA
                              NORTHERN DIVISION
________________________________________________
                                                 )
In re:                                           ) Chapter 11
                                                 )
REMINGTON OUTDOOR COMPANY, INC., et al., ) Case No. 20-81688-CRJ11
                                                 )
       Debtors.                                 ) Jointly Administered
________________________________________________)

    OBJECTION OF CONSTELLATION NEWENERGY – GAS DIVISION, LLC
      TO THE DEBTORS’ MOTION FOR ENTRY OF INTERIM AND FINAL
      ORDERS (I) DETERMINING ADEQUATE ASSURANCE OF PAYMENT
         FOR FUTURE UTILITY SERVICES, (II) PROHIBITING UTILITY
  COMPANIES FROM ALTERING, REFUSING, OR DISCONTINUING SERVICES,
     (III) ESTABLISHING PROCEDURES FOR DETERMINING ADEQUATE
    ASSURANCE OF PAYMENT, AND (IV) SCHEDULING A FINAL HEARING

       Constellation NewEnergy – Gas Division, LLC (“CNEG”), by counsel, hereby objects to

the Debtors’ Motion For Entry of Interim and Final Orders (I) Determining Adequate Assurance

of Payment For Future Utility Services, (II) Prohibiting Utility Companies From Altering,

Refusing, or Discontinuing Services, (III) Establishing Procedures For Determining Adequate

Assurance of Payment, and (IV) Scheduling a Final Hearing (the “Utility Motion”) (Docket No.

15), and sets forth the following:

                                         Introduction

       The Debtors’ Utility Motion improperly seeks to shift the Debtors’ obligations under

Section 366(c)(3) from modifying the amount of the adequate assurance of payment requested by

CNEG under Section 366(c)(2) to setting the form and amount of the adequate assurance of

payment acceptable to the Debtors. This Court should not permit the Debtors to shift their

statutory burden.




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       The Debtors seek to have this Court approve their form of adequate assurance of

payment, which is a bank account containing $354,329.13 that supposedly reflects an amount

equal to approximately one-half of the Debtors’ monthly utility charges over the past twelve

months (the “Bank Account”). The Court should reject the Debtors’ proposed Bank Account

because: (1) CNEG bills the Debtors on a monthly basis and provides the Debtors with generous

payment terms pursuant to the Gas Agreement (as defined below), and a two-week account is not

sufficient in amount or in form to provide CNEG with adequate assurance of payment; (2)

Section 366(c) of the Bankruptcy Code specifically defines the forms of adequate assurance of

payment in Section 366(c)(1), none of which include a segregated bank account; and (3) even if

this Court were to improperly consider the Bank Account as a form of adequate assurance of

payment for CNEG, the Court should reject it as an insufficient form of adequate assurance of

payment for the reasons set forth in Section A.1. of this Objection.

       CNEG is seeking a two-month cash deposit in the amount of $87,024 from the Debtors,

which is an amount that CNEG can obtain pursuant to the Gas Agreement (as defined below).

Based on all the foregoing, this Court should deny the Utility Motion as to CNEG because the

amount of the CNEG post-petition deposit request is reasonable under the circumstances and

should not be modified.

                                               Facts

                                        Procedural Facts

       1.      On July 27, 2020 (the “Petition Date”), the Debtors commenced their cases under

chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”) that are now pending

with this Court. The Debtors continue to operate their businesses and manage their properties as

debtors in possession pursuant to Bankruptcy Code sections 1107(a) and 1108.

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       2.      The Debtors’ chapter 11 bankruptcy cases are being jointly administered.

                                        The Utility Motion

       3.      On July 28, 2020, the Debtors filed the Utility Motion.

       4.      On July 30, 2020, the Court entered the Interim Order (I) Determining Adequate

Assurance of Payment For Future Utility Services, (II) Prohibiting Utility Companies From

Altering, Refusing, or Discontinuing Services, (III) Establishing Procedures For Determining

Adequate Assurance of Payment, and (IV) Granting Related Relief (the “Interim Utility

Order”)(Docket No. 75). The Interim Utility Order set (i) an objection deadline of August 7,

2020 and (ii) the final hearing on the Utility Motion to take place on August 11, 2020 at 9:00

a.m. Interim Utility Order at ¶ 2.

       5.      Through the Utility Motion, the Debtors seek to avoid the applicable legal

standards under Sections 366(c)(2) and (3) by seeking Court approval for their own form of

adequate assurance of payment, which is the Bank Account containing $354,329.13 that

supposedly reflects an amount equal to approximately one-half of the Debtors’ monthly utility

charges over the past twelve months. Utility Motion at ¶ 14.

       6.      The proposed Bank Account is not acceptable to CNEG and should not be

considered relevant by this Court because Sections 366(c)(2) and (3) do not allow the Debtors to

establish the form or amount of adequate assurance of payment. Under Sections 366(c)(2) and

(3), this Court and the Debtors are limited to modifying, if at all, the amount of the security

sought by CNEG under Section 366(c)(2).

       7.      The Debtors claim that to the best of their knowledge, there are no defaults or

arrearages with respect to the Debtors’ undisputed invoices for prepetition utility services.

Utility Motion at ¶ 7. However, Section 366(c)(3)(B)(ii) expressly provides that in making an

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adequate assurance of payment determination, a court may not consider a debtor’s timely

payment of prepetition utility charges.

        8.     Although not requested in the Utility Motion, the Interim Utility Order provides

that monies contained in the Bank Account on behalf of a utility shall be returned to the Debtors

on the earlier of (i) entry of an order authorizing the return or release of the monies contained in

the Bank Account to the Debtors, or (ii) the effective date of a Chapter 11 plan. Interim Utility

Order at ¶ 7. As CNEG bills the Debtors in arrears, and CNEG would likely provide post-

petition utility goods/services to the Debtors through the effective date of a plan, any monies

contained in the Bank Account on behalf of CNEG should not be returned to the Debtors until

the Debtors confirm that they have paid in full their post-petition utility expenses owed to

CNEG.

        9.     The Utility Motion does not address why the Bank Account would be

underfunded with only two-weeks of utility charges when the Debtors know that CNEG is

required by contract to bill the Debtors monthly. Moreover, presumably the Debtors want

CNEG to continue to bill them monthly and provide them with the same generous payment terms

that they received prepetition. Accordingly, if the Bank Account is relevant, which CNEG

disputes, the Debtors need to explain: (A) why they are only proposing to deposit a supposed

two-week amount into the Bank Account for CNEG; and (B) how such an insufficient amount

could even begin to constitute adequate assurance of payment for CNEG’s monthly bills.

        10.    Furthermore, the Utility Motion does not address why this Court should consider

modifying, if at all, the amount of CNEG’s adequate assurance request pursuant to Section

366(c)(2). Rather, without providing any specifics, the Utility Motion merely states that the

Bank Account, “in conjunction with the Debtors’ ability to pay for future utility services in

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accordance with prepetition practice,” constitutes sufficient adequate assurance of payment to the

Debtors’ utility providers. Utility Motion at ¶ 9.

                                        Facts Regarding CNEG

        11.      CNEG provides natural gas and related services to the Debtors pursuant to a Base

Contract for Sale and Purchase of Natural Gas (NAESB) and related Transaction Confirmation

(collectively, the “Gas Agreement”) that set forth the terms and conditions concerning CNEG’s

provision of natural gas and related services to the Debtors. CNEG has continued to provide the

Debtors with natural gas and related services pursuant to the Gas Agreement since the Petition

Date.

        12.      Pursuant to the Gas Agreement, the Debtors receive approximately one month of

natural gas and related services before CNEG issues a bill. Once a bill is issued, the Debtors

have 15 days to pay the applicable bill. If the Debtors fail to timely pay a bill, a late fee may be

subsequently imposed on the account. Accordingly, the Debtors could receive approximately two

months of natural gas and related services before CNEG could terminate the Gas Agreement

after a post-petition payment default.

        13.      The estimated pre-petition debt owed by the Debtors to CNEG is approximately

$60,000. CNEG is requesting a two-month cash deposit of $87,024 as adequate assurance of

payment from the Debtors, which is an amount it can obtain from the Debtors pursuant to the

terms and conditions of the Gas Agreements.

                                                Discussion

        A.       THE UTILITY MOTION SHOULD BE DENIED AS TO CNEG.

        Sections 366(c)(2) and (3) of the Bankruptcy Code provide:

             (2) Subject to paragraphs (3) and (4), with respect to a case filed under chapter 11, a
              utility referred to in subsection (a) may alter, refuse, or discontinue utility service, if
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           during the 30-day period beginning on the date of the filing of the petition, the utility
           does not receive from the debtor or the trustee adequate assurance of payment for
           utility service that is satisfactory to the utility;

           (3)(A) On request of a party in interest and after notice and a hearing, the court may
            order modification of the amount of an assurance of payment under paragraph (2).

       As set forth by the United States Supreme Court, “[i]t is well-established that ‘when the

statute's language is plain, the sole function of the courts--at least where the disposition required

by the text is not absurd--is to enforce it according to its terms.’” Lamie v. United States Trustee,

540 U.S. 526, 534, 124 S. Ct. 1023, 157 L. Ed. 2d 1024 (2004) (quoting Hartford Underwriters

Ins. Co. v. Union Planters Bank, N. A., 530 U.S. 1, 6, 120 S. Ct., 1942, 147 L. Ed. 2d 1 (2000)).

Rogers v. Laurain (In re Laurain), 113 F.3d 595, 597 (6th Cir. 1997) (“Statutes . . . must be read

in a ‘straightforward’ and ‘commonsense’ manner.”). A plain reading of Section 366(c)(2)

makes clear that a debtor is required to provide adequate assurance of payment satisfactory to its

utilities on or within thirty (30) days of the filing of the petition. In re Lucre, 333 B.R. 151, 154

(Bankr. W.D. Mich. 2005). If a debtor believes the amount of the utility’s request needs to be

modified, then the debtor can file a motion under Section 366(c)(3) requesting the court to

modify the amount of the utility’s request under Section 366(c)(2).

       In this case, the Debtors filed the Utility Motion to improperly shift the focus of their

obligations under Section 366(c)(3) from modifying the amount of the adequate assurance of

payment requested under Section 366(c)(2) to setting the form and amount of the adequate

assurance of payment acceptable to the Debtors. Accordingly, this Court should not reward the

Debtors for their failure to comply with the requirements of Section 366(c) and deny the Utility

Motion as to CNEG.




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               1.     The Debtors’ Proposed Bank Account Is Not Relevant And Even If It
                      Is Considered, It Is Unsatisfactory Because It Does Not Provide
                      CNEG With Adequate Assurance of Payment.

       This Court should not even consider the Bank Account as a form of adequate assurance

of payment because: (1) it is not relevant because Section 366(c)(3) provides that a debtor can

only modify “the amount of an assurance of payment under paragraph (2)”; and (2) the Bank

Account is not a form of adequate assurance of payment recognized by Section 366(c)(1)(A).

Moreover, even if the Court were to consider the Bank Account, the Bank Account is an

improper and otherwise unreliable form of adequate assurance of future payment for the

following reasons:

           1. Unlike the statutory approved forms of adequate assurance of payment, the Bank
              Account is not something held by CNEG. Accordingly, CNEG would have no
              control over how long the Bank Account will remain in place.

           2. In order to access the Bank Account, CNEG would have to incur the expense to
              draft, file and serve a default pleading with the Court and possibly litigate the
              demand if the Debtors refuse to honor a disbursement request.

           3. It is underfunded from the outset because CNEG issues monthly bills and by the
              time a default notice is issued the Debtors will have received approximately 60
              days of commodity.

           4. The Debtors may close the Bank Account before all post-petition utility charges
              are paid in full.

          Accordingly, the Court should not approve the Bank Account as adequate assurance as

  to CNEG because the Bank Account is: (a) not the form of adequate assurance requested by

  CNEG; (b) not a form recognized by Section 366(c)(1)(A); and (c) an otherwise unreliable

  form of adequate assurance.

               2.     The Utility Motion Should Be Denied As To CNEG Because the
                      Debtors Have Not Set Forth Any Basis For Modifying CNEG’s
                      Requested Deposit.

          In the Utility Motion, the Debtors fail to address why this Court should modify the
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  amount of CNEG’s request for adequate assurance of payment. Under Section 366(c)(3), the

  Debtors have the burden of proof as to whether the amount of CNEG’s adequate assurance of

  payment request should be modified. See In re Stagecoach Enterprises, Inc., 1 B.R. 732, 734

  (Bankr. M.D. Fla. 1979) (holding that the debtor, as the petitioning party at a Section 366

  hearing, bears the burden of proof). However, the Debtors do not provide the Court with any

  evidence or factually supported documentation to explain why the amount of CNEG’s

  adequate assurance request should be modified. Accordingly, the Court should deny the relief

  requested by Debtors in the Utility Motion and require the Debtors to comply with the

  requirements of Section 366(c) with respect to CNEG.

          B.   THE COURT SHOULD ORDER THE DEBTORS TO PROVIDE THE
               ADEQUATE ASSURANCE OF PAYMENT REQUESTED BY CNEG
               PURSUANT TO SECTION 366 OF THE BANKRUPTCY
               CODE.

       Section 366(c) was amended to overturn decisions such as Virginia Electric and Power

Company v. Caldor, Inc., 117 F.3d 646 (2d Cir. 1997), that held that an administrative expense,

without more, could constitute adequate assurance of payment in certain cases. Section

366(c)(1)(A) specifically defines the forms that assurance of payment may take as follows:

               (i) a cash deposit;
               (ii) a letter of credit;
               (iii) a certificate of deposit;
               (iv) a surety bond;
               (v) a prepayment of utility consumption; or
               (vi) another form of security that is mutually agreed upon between the utility and
               the debtor or the trustee.

       Section 366 of the Bankruptcy Code was enacted to balance a debtor’s need for utility

services from a provider that holds a monopoly on such services, with the need of the utility to

ensure for itself and its rate payers that it receives payment for providing these essential services.

See In re Hanratty, 907 F.2d 1418, 1424 (3d Cir. 1990). The deposit or other security “should
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bear a reasonable relationship to expected or anticipated utility consumption by a debtor.” In re

Coastal Dry Dock & Repair Corp., 62 B.R. 879, 883 (Bankr. E.D.N.Y. 1986). In making such a

determination, it is appropriate for the Court to consider “the length of time necessary for the

utility to effect termination once one billing cycle is missed.” In re Begley, 760 F.2d 46, 49 (3d

Cir. 1985).

          CNEG bills the Debtors on a monthly basis for the charges already incurred by the

Debtors in the prior month. CNEG then provides the Debtors with 15 days to pay a bill before a

late fee may be charged, and also provides written notice before utility goods/services can be

terminated for non-payment pursuant to the Gas Agreement. Based on the foregoing contract-

mandated billing cycle, the minimum period of time the Debtors could receive service from

CNEG before termination of service for non-payment of post-petition bills is approximately two

(2) months. Moreover, even if the Debtors timely pay their post-petition utility bills, CNEG still

has potential exposure of approximately 60 days based on its billing cycle. Furthermore, the

amount of the CNEG deposit request is the amount that the Gas Agreement permits CNEG to

request from the Debtors. CNEG is not taking the position that the deposit that it is entitled to

obtain pursuant to the Gas Agreement is binding on this Court, but instead is introducing that

amount as evidence of amount that the Gas Agreement permits CNEG to request from the

Debtors.

          WHEREFORE, the CNEG respectfully requests that this Court enter an order:

     1.          Denying the Utility Motion as to CNEG;

     2.          Awarding CNEG the post-petition adequate assurance of payment pursuant to

                 Section 366 in the amount and form satisfactory to CNEG, which is the form and

                 amount requested herein; and

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     3.      Providing such other and further relief as the Court deems just and appropriate.

Dated: August 5, 2020.

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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 5, 2020, a true and correct copy of the foregoing Objection
was served via the Court’s CM/ECF electronic notification system on all parties requesting same,
and via email to the parties listed below:

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